     Case 1:25-cv-02975-SDG    Document 1   Filed 05/30/25   Page 1 of 20




                UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

GRAND BOULE OF SIGMA PI              )
PHI FRATERNITY,                      )
a Pennsylvania Non-Profit            )
Corporation,                         )
                                     )      Civil Action No.
                  Plaintiff,         )
                                     )
v.                                   )
                                     )
LOREN R. DOUGLASS, an                )
individual,                          )
                                     )
                Defendant.           )

      COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES




                                     1
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 2 of 20




                               2
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 3 of 20




                               3
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 4 of 20




                               4
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 5 of 20




                               5
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 6 of 20




                               6
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 7 of 20




                               7
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 8 of 20




                               8
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 9 of 20




                               9
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 10 of 20




                               10
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 11 of 20




                               11
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 12 of 20




                               12
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 13 of 20




                               13
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 14 of 20




                               14
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 15 of 20




                               15
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 16 of 20




                               16
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 17 of 20




                               17
     Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 18 of 20




Dated: May 30, 2025.

                                  Respectfully submitted,
                                  /s/ Tate Gray
                                  K. Tate Gray
                                  Georgia Bar No. 919123
                                  Reed Smith LLP
                                  999 Peachtree Street, NE
                                  Suite 2500
                                  Atlanta, GA 30309
                                  Telephone: (470) 947-5813
                                  Facsimile: (470) 947-5799
                                  Email: tate.gray@reedsmith.com

                                  -and-

                                  A. Scott Bolden (pro hac vice forthcoming)
                                  DC Bar No. 428758
                                  Reed Smith LLP
                                  1301 K Street, N.W.
                                  Suite 1000, East Tower
                                  Washington, DC 20005
                                  Telephone: (202) 414-9200
                                  Facsimile: (202) 414-9299
                                  Email: abolden@reedsmith.com

                                  -and-

                                  Lloyd J. Jordan (pro hac vice forthcoming)
                                  DC Bar No. 480203

                                    18
Case 1:25-cv-02975-SDG   Document 1   Filed 05/30/25   Page 19 of 20




                             Motley Waller LLP
                             300 New Jersey Ave NW #300,
                             Washington, DC 20001
                             Telephone: (202) 347-0179
                             Email: lloyd.jordan@motleywaller.com

                             Attorneys for Grand Boule of Sigma Pi Phi
                             Fraternity




                               19
     Case 1:25-cv-02975-SDG    Document 1    Filed 05/30/25   Page 20 of 20




                     CERTIFICATE OF COMPLIANCE

      The undersigned counsel certifies that the foregoing has been prepared in

Times New Roman (14 point) font, as required by the Court in Local Rule 5.1 (C).

       Respectfully submitted this 30th day of May 2025.



                                        /s/ K. Tate Gray
                                        K. Tate Gray
                                        Georgia Bar No. 919123
